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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,           §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
JPMORGAN CHASE BANK, N.A.             §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this

Complaint against JPMorgan Chase Bank, N.A. (“Defendant” or “Chase”) for infringement of

United States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752

Patent,” “the ‘369 Patent,” and “the ‘190 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, is a New York corporation with its principal office

located at 270 Park Ave., New York, NY 10017. Defendant may be served through its




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registered agent, CT Corporation, located at 1999 Bryan St., Ste. 900, Dallas, TX 75201.

       5.         This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in the state of Texas, has conducted

business in the state of Texas, and/or has engaged in continuous and systematic activities in the

state of Texas.

       6.         Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Eastern District of Texas.

                                              VENUE

       7.         Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§

1391(c) and 1400(b) because Defendant is deemed to reside in this District. In addition, and in

the alternative, Defendant has committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

       8.         Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       9.         This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.        Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to

enforce the ‘752 Patent and sue infringers.

       11.        A copy of the ‘752 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

       12.        The ‘752 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       13.        Upon information and belief, Defendant has infringed and continues to infringe



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one or more claims, including at least Claim 1, of the ‘752 Patent by using and/or incorporating

Quick Response Codes (QR codes) in printed advertising and/or on one or more Internet

websites in a manner covered by one or more claims of the ‘752 Patent. Defendant has

infringed and continues to infringe the ‘752 Patent in violation of 35 U.S.C. § 271.

       14.     On information and belief, Defendant has, at least through internal testing, used

or incorporated QR codes in advertising, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes in

connection with advertising for its Chase Mobile App.

       15.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its Chase Mobile App. On information

and belief, Defendant has captured a digital image of a QR code associated with Chase Mobile

App as illustrated, for example, on the following website:

http://thefinancialbrand.com/37163/qr-codes-are-mobile-gateway-for-bank/

For example, as shown below in a partial screen shot from the latter website, one or more QR

codes is shown associated with advertising for Defendant’s Chase Mobile App.




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       16.    Defendant’s advertisement of its Chase Mobile App informs users that they can

scan the QR through their smartphone to download the app. On information and belief, at least

through internal testing, Defendant has used a digital image capturing device of a portable

electronic device, such as the camera component of a smart phone for example, to capture a

digital image of the QR code associated with the advertisement of Defendant’s Chase Mobile

App.

       17.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology


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detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the QR code itself). On information and belief the scanning technology is used to

decode the symbology to obtain a decode string. The decode string is sent to a remote server

for further processing. Based on the decode string, the remote server sends information

associated with the QR code, which is received by the user of the portable electronic device

and displayed on a display associated with the portable electronic device.

       18.     For example, if a user scans a QR code in the advertising associated with

Defendant’s Chase Mobile App, scanning technology decodes the pattern of the QR code to

obtain a decode string and sends the decode string to a remote server. The server returns

information associated with the QR code. In this example, the information received by the

user and displayed on the portable electronic device is information about Defendant’s Chase

Mobile App including descriptions of the app, screen shots, reviews and a link to download the

app. The information is illustrated, for example, with a website at:

https://play.google.com/store/apps/details?id=com.chase.sig.android&hl=en

and the information displayed is illustrated by the partial screen shot below.




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       19.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       20.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       21.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       22.     Plaintiff incorporates paragraphs 1 through 21 herein by reference.


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       23.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       24.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to

enforce the ‘369 Patent and sue infringers.

       25.     A copy of the ‘369 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

       26.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       27.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘369 Patent by using and/or incorporating

Quick Response Codes (QR codes in printed advertising and/or on one or more Internet

websites in a manner covered by one or more claims of the ‘369 Patent. Defendant has

infringed and continues to infringe the ‘369 Patent in violation of 35 U.S.C. § 271.

       28.     On information and belief, Defendant has, at least through internal testing, used

or incorporated QR codes in advertising, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes in

connection with advertising for its Chase Mobile App.

       29.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with the Chase Mobile App. On information

and belief, Defendant has captured a digital image of a QR code associated with its Chase

Mobile App as provided on the following website, for example:

http://thefinancialbrand.com/37163/qr-codes-are-mobile-gateway-for-bank/




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For example, as shown below in a partial screen shot from the latter website, one or more QR

codes is shown associated with advertising for Defendant’s Chase Mobile App.




       30.     Defendant’s advertisement of its Chase Mobile App informs users that they can

scan the QR code through their smartphone to download the app. On information and belief, at

least through internal testing, Defendant has used a digital image capturing device of a portable

electronic device, such as the camera component of a smart phone for example, to capture a

digital image of the QR code associated with the advertisement of Defendant’s Chase Mobile

App.



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       31.     On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with the digital

image. On information and belief the scanning technology is used to decode the symbology to

obtain a decode string. The decode string is sent to a remote server for further processing.

Based on the decode string, the remote server sends information associated with the QR code,

which is received by the user of the portable electronic device and displayed on a display

associated with the portable electronic device.

       32.     For example, if a user scans a QR code in the advertising associated with

Defendant’s Chase Mobile App, scanning technology decodes the pattern of the QR code to

obtain a decode string and sends the decode string to a remote server. The server returns

information associated with the QR code. In this example, the information received by the

user and displayed on the portable electronic device is information about Defendant’s Chase

Mobile App including descriptions of the app, screen shots, reviews and a link to download the

app. The information is illustrated, for example, with a website at:

https://play.google.com/store/apps/details?id=com.chase.sig.android&hl=en

and the information displayed is illustrated by the partial screen shot below.




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       33.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       34.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       35.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT III
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       36.     Plaintiff incorporates paragraphs 1 through 35 herein by reference.


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       37.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       38.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to

enforce the ‘190 patent and sue infringers.

       39.     A copy of the ‘190 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

       40.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       41.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘190 Patent by using and/or incorporating

Quick Response Codes (QR codes) in advertising and on one or more Internet websites in a

manner covered by one or more claims of the ‘190 Patent. Defendant has infringed and

continues to infringe the ‘190 Patent in violation of 35 U.S.C. § 271.

       42.     On information and belief, Defendant has, at least through internal testing, used

or incorporated QR codes in advertising, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes in

connection with advertising for its Chase Mobile App.

       43.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its Chase Mobile App. On information

and belief, Defendant has captured a digital image of a QR code associated with its Chae

Mobile App as provided on the following website, for example:

http://thefinancialbrand.com/37163/qr-codes-are-mobile-gateway-for-bank/




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For example, as shown below in a partial screen shot from the latter website, one or more QR

codes is shown associated with advertising for Defendant’s Chase Mobile App.




       44.    Defendant’s advertisement of its Chase Mobile App informs users that they can

scan the QR code through their smartphone to download the app. On information and belief, at

least through internal testing, Defendant has used a digital image capturing device of an

electronic device, such as the camera component of a smart phone for example, to capture a

digital image of the QRs code(s) associated with the advertisement of Defendant’s Chase

Mobile App.



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       45.     On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with the digital image. On

information and belief the scanning technology is used to decode the symbology to obtain a

decode string. The decode string is sent to a remote server for further processing. Based on

the decode string, the remote server sends information associated with the QR code, which is

received by the user of the electronic device and displayed on a display associated with the

electronic device.

       46.     For example, if a user scans a QR code in the advertising associated with

Defendant’s Chase Mobile App, scanning technology decodes the pattern of the QR code to

obtain a decode string and sends the decode string to a remote server. The server returns

information associated with the QR code. In this example, the information received by the

user and displayed on the electronic device is information about Defendant’s Chase Mobile

App including descriptions of the app, screen shots, reviews and a link to download the app.

The information is illustrated, for example, with a website at:

https://play.google.com/store/apps/details?id=com.chase.sig.android&hl=en

and the information displayed is illustrated by the partial screen shot below.




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       47.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       48.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       49.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff asks the Court to:



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          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patents No. 8,424,752, No. 8,651,369,

and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties from the time of

judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendant’s infringement in

accordance with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




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Dated: April 26, 2016          Respectfully submitted,



                                      /s/ Jay Johnson
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                             EXHIBIT C
